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                           UNITED STATES DISTRICT COURT 

                           FOR THE DISTRICT OF COLUMBIA 

                                             ) 

GEORGE WEBB SWEIGERT                         )       Civil Action 1:17-cv-02330-(RC) 

       Plaintiff(s)                          )       Filed 03/02/2018 

          vs.                                )       Judge Rudolph Contreras 

JOHN PODESTA, et al.                         ) 

       Defendant(s)                          ) 

 

                PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT 
                                          
                          FOR DEFENDANT GLENN SIMPSON 

Pursuant to Rule 56 of the Federal Rules of Civil Procedure, plaintiffs in the above-captioned  

action respectfully move the Court to enter partial summary judgment for Defendant Glenn 

Simpson. The Plaintiff has asserted a RICO conspiracy between the Defendants Glenn Simpson, 

CEO of Fusion GPS, the Democratic National Committee, the Podesta Group, and Hillary For 

America to commit fraud and breach of their fiduciary duty as a whole conspiracy and severely 

as individuals. The Plaintiff has shown fraud, the making of false statements, the detrimental 

reliance of donors of the Democratic Party, the clear injury in fact over over $220M in donations 

to a Class of contributors with clear standing in numerosity and diversity and rightly place 

jurisdiction of this Court. The Defendant Glenn Simpson has chosen to avoid answering this 

complaint for over sixty days while having key confederates avoid service altogether. 

Defendant Glenn Simpson has compounded this contempt for judicial process with motions 

from peripheral Defendants which hid behind distantly related case law rather than addressing 
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the fundamental question before the Court, “Was there a conspiracy to commit fraud by the 

DNC and Fusion GPS, or was there not?”.  

New press reports of Defendant Glenn Simpson’s potential treasonous acts seem to come now 

on a daily basis. Fusion GPS hired a former British spy to hire Russian spies to dossier political 

opponents like the Trump campaign and may have placed Russian operatives inside the Bernie 

Sanders campaign, exponentiating the conspiracy to commit fraud with violations of the 

Espionage Act. (from ABC News). 

Fusion GPS paid former British spy $168,000 to work on Trump dossier - report 

https://www.cbsnews.com/news/report-fusion-gps-paid-steele-168000-to-work-on-trump-dossier
/

We now find the FBI may have acted as a confederate with Fusion GPS in establishing illegal 

FISA warrants with this Honorable District Court. (Fox News) 

    Nunes: FBI may have violated criminal statutes in FISA application to spy on Trump 
                                   adviser Carter Page       
http://www.foxnews.com/politics/2018/03/01/nunes-fbi-may-have-violated-criminal-statute

s-in-fisa-application-to-spy-on-trump-adviser.html 

 

This Fraud on the Court was not committed just once, but a total of four times for witnesses 

produced by Fusion GPS the that FBI knew to be fraudulent. Fusion GPS and the FBI 

exponentiated this with each successive request, knowing that ex British spy was making false 

statements to this Court. The Defendant clearly were obfuscating their own conspiracy of fraud 

on the DNC by casting aspersions on the Trump Campaign. The termerity of this RICO 

conspiracy to commit fraud on the American people does not even at the Federal Courthouse 

steps. 
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The Plaintiff’s primary objective in this civil action is for the production of documents to 

remove the cloud this RICO conspiracy has cast over the veracity of our electoral process. The 

Plaintiff motions for partial summary judgement at this time for the production of all 

documents related to Fusion GPS communications with the FBI, DOJ, journalists, persons 

known to have intelligence backgrounds such as Christopher Steele, Russian foreign national 

brought to this country for the purposes of spying on the Bernie Sanders Campaign and or the 

Trump Campaign and or any other Democratic or GOP campaign, all monthly bank statements 

since the inception of Fusion GPS in 2011, and all travel records of Glenn Simpson and Nellie 

Ohr for the period in question from May of 2016 to the present. 

 

Respectfully submitted,                               Dated March 2nd, 2018 




                                                                           

/s/George Webb Sweigert, Pro Se 

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